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                             UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF COLORADO

 In re:                                              )
                                                     )
 11380 SMITH RD LLC                                  )      Case No. 18-10965 TBM
 EIN XX-XXXXXXX                                      )      Chapter 11
                                                     )
 Debtor.                                             )


                                      BALLOT VOTING REPORT


        Debtor-in-Possession, 11380 Smith Rd LLC (“Debtor”), through its counsel Weinman
 & Associates, P.C., submits the following report of ballots received in connection with
 confirmation of its Second Amended Plan of Reorganization dated September 20, 2018
 (the “Plan”). The Debtor’s Second Amended Disclosure Statement dated September 20,
 2018 was approved by the Court on September 24, 2018. The deadline for Ballots to
 accept or reject the Plan was October 25, 2018 (“Ballot Deadline”). Objections to
 confirmation were due on or before October 25, 2018. The Court has set a hearing on
 confirmation of the Plan for Thursday, November 1, 2018 at 1:30 p.m.

                                            VOTING REPORT

 A.       BALLOT REPORT SUMMARY

                                                                             No Ballot
 Class                                       Accepts        Rejects          Received         Not Impaired

 1 - Adams County, Colorado
        Treasurer’s Office                                                       X

 2 - 11380 East Smith Rd
        Investments, LLC                        X1

 3 - General Unsecured Claims                                                    X

 4 - Equitable Interest                                                          X                  X




          1
            The Class 2 creditor’s Ballot was received after the Ballot Deadline, however, Mr. Swanson, counsel
 for the Class 2 creditor, advised that he received no Ballot and immediately upon having been advised of his
 client’s failure to vote, he was sent and returned the attached Ballot.
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 B.    Class 2 consists of the allowed secured claim of 11380 East Smith Rd Investments,
       LLC. Class 2 is impaired under the Plan. The Debtor received a Ballot from the
       Class 2 creditor. As footnoted above, Class 2 has voted to accept the Plan. The
       Ballot received by the Class 2 creditor is attached hereto as Exhibit “A”.

        With respect to the classes which have voted on the Plan, Class 2 has voted to
 accept the Plan. No Classes have voted to reject the Plan. At least one (1) non-insider
 impaired class has voted to accept the Plan. Non-objecting, non-voting classes are
 deemed to have accepted the Plan. In re Ruti-Sweetwater, Inc., 836 F.2d 1263 (10th Cir.
 1988).

 DATED: October 29, 2018

                                         Respectfully Submitted,

                                         WEINMAN & ASSOCIATES, P.C.



                                         By: /s/ Jeffrey A. Weinman
                                                Jeffrey A. Weinman, #7605
                                                730 17th Street, Suite 240
                                                Denver, CO 80202-3506
                                                Telephone: (303) 572-1010
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                                                jweinman@weinmanpc.com




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                                 CERTIFICATE OF MAILING

        I hereby certify that I have mailed on this 29th day of October, 2018, a true and
 correct copy of the foregoing BALLOT VOTING REPORT by placing the same in the
 United States mail, postage prepaid, addressed to:

 Daniel J. Morse, Esq.
 U.S. Trustee’s Office
 308 W. 21st St., Room 203
 Cheyenne, WY 82001

 Samuel Boughner, Esq.
 U.S. Trustee’s Office
 1961 Stout St., Ste. 12-200
 Denver, CO 80294

 11380 Smith Rd LLC
 Attn: Louis Hard, Manager/Member
 11380 East Smith Road
 Aurora, CO 80010

 Timothy M. Swanson, Esq.
 Scott C. James, Esq.
 Moye White LLP
 1400 16th Street, Sixth Floor
 Denver, CO 80202

                                                 /s/ Lisa R. Kraai




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